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       -   2:16-cv-08477-FMO-PLA
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Case 2:16-cv-08477-FMO-PLA Document 2 Filed 12/20/16 Page 2 of 19 Page ID #:41

                                                 C o 1692e(2~(A)
     1  ~l:a~,fn C3ne~; U~olat~or~ ~£ 2~ U ~ S ~
                                                           the defend~~t viola~.ed sectiar~
     2             4~ T}ie --p~ainLiff asserts that
                                                                                     s Act whey
                                          the Fa%r Debt Collectioa~ Practice
     3 15 U~S.Co 5 ~692e(2)(A) of
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                                         fax"Information Serv3.ces, Experian Tn~.
     ~ defend~~it rEparted to ~qu~
                                                       the plaintiff is in default with the
     S Systems, and~Trans Union LLG ghat
                                                      .00 & 545.00m (F~ch b t A) o
     6 defer►dant for the aruount of $ `~ X44
                                                             lector Disclosure Statement" asks,.
     7              5. Question (9) of hte 'iDebt Col
                                                                                       erent from
                                           ount, if the Debt Collector is diff
     ~ "Regarding Lh s alleged acc
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                                                    the. Debt Collector have a bor►a fide
     4 a11e~e~ Original Creditor, does
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    1Q. aziiciavzt. of assi7nment
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                een  alle ged  orig inal cre dito    r and alleged ~1eUtor?" The de~ettdan
    11 betw
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    12: responded to this 'question {See
                                                                 4(b)'(~): o~ the '"Notice of
    13`             6~ The. "GAVF~T'` on page ~, section
                                                         ebt Collector's failure in providing
    1~    Adminis~rative'R2medy" says, the "°D
                                                      ~~cr ~~~zdat~r~g the al~~r~ }-efPr~n~.ed_
    i5    ~esponden~ the regvisi~F J~~~fica
                                                               lawaoodebt collector tacticly
          alleged. debt within the requ3.~emen      -~ ts of
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                                                          nQ lawful, bona fide, vEr~fiabl~ cl~.
           agrees that: (1) Debt Collector has
                                                    account`' (see ~h bit B)
           regarding the above referenced
                                                          manipulate the .plaintiff by falsely
                     7= `I1~e defendant intended ~o
                                                            though it Sias .~eve~ ass~g~~~.~y
     20         representing ~l~e alleged debt even
                                                      ndant agrees, ~n its respans~ ~ta the
     21         the anginal creditor° 'T`1~e defe
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Case 2:16-cv-08477-FMO-PLA Document 2 Filed 12/20/16 Page 3 of 19 Page ID #:42
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     1 rake in representa~~ori of
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     ~ the debts
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     3         8. ~h~ plaintiff:hereby. s" eeks
                                                                  made by the`
                                   r~ of 15 U~S.C~ 5 1692e(2)(A)'
     !~ $1,OODa00 zor the vio~.ato
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     ~' defendant°

      b:
                                              o S v C. 1692°(8)
      7    Claim two a Violatiat~ of 2$ U
                                                          the defenCant via~ated sectiar
       g;          9.: T'he plain~~:ff asserts that
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                                             Fair Debt Collection Practices Act
       g 15 U~S~C~ § 1692°{8} of the
                                                                           ng Age~eies (CLZ~)
         r whi n the  defe ~►d ant 'com municated to .the Cr,=edit Reporti
     p p
                                              have known to ~t~e false
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                 10'» The .pla int iff  ~ ask  ed the. defend~rit to validate the den
    ~ 2
                                                                             warned the
                                       ebt' Disclosure Statement°' wh~,ch
    i3 11,04 /15 and sent it °,D
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                                                be filed for non.-cornpliar►ce. ThE
    ~t~ .defendant that a claim wou~cl
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                                            t aid agreed ghat -+ t dicl not hav
    ~~5 famed to val~da~e the deb
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                                                 ant violated its .statutory dut
    ~~    the accounts. Thus, the defend
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    17 report. to ,.the.-CR~Is: informa
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    i~:           11= The plaintiff hereby seeks
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                                       .on of 15 U~S.Cn 5 1692°(8) mad
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      Case 2:16-cv-08477-FMO-PLA Document 2 Filed 12/20/16 Page 4 of 19 Page ID #:43

                                               ugh wise misrepresentatiUr~.
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                                                             Assoc. LLC, U.S. .D~s~e ~,~IS 27~J5~
           Z          ~.3a Heathtnan v. Parfolia Recaver~
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                                                  collector violats [Section 1692~(1J
           3, (9tY Ci~a 2013) states, t°A debt
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                                                  o~ deceptive means to collect or at'ce
           l~ se[s].~ .a false representation:
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           5 to :collect any debts ra to ~~btain
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                                                 on that a debt is--owed to i~ wizen
           6 , (a debt collectors representati
                                                                                                )
                                              misrepresentation barred by the '°F'DCPA''
           7 '-fact. it ~s not. amounts to a
                                                              utory damgaes in the amount of
            g ".      14o The plaintiff hereby seeks stat
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                                                    Cs 51692e(10} made by the defendan
           9_ $1,00°00 for violation of 15 UaS•

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                                                     ered by tYee.Plaintiff ~ Pursuant~:to
           ~ 1 .Claim Four: actual D~nages~ Suff
;,~    _ -                    15 UeS.Cm 5 1692ko
           12
                                                               defendant vz~Iated sections}
           13          15a The plaintiff assets that Lhe
                                                                                               ections
                 16 UaS. Cb §§ 1692 e(2) (A),  1692 e(8), 1692e(10) of the Fair Debt Coll
           1~
                                                                                       15 U a S a C,
                                            ec.t the defendant to Actual Damages =
           ~ ~ Practices ~c~. v~~ic~ subj
                                                                                              debt
                                                    rwise provided by thi s section, any
           ~6 5 1592K STATES,"Except -as othe
                                                                  ision fo this title [1S UeSaC~~Ss
                coll ecto r who fails to comply with any prov
           17
                                                                                                on an
                                                     to az~y person, is liable to - such pers
           lg §5 1692 ete sega] sa~th respect
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                                                    § 1692k(a)(1} any actual damages
           lg -az1 amount equal t~ the stun of:
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           2p by such person ~s a result of
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           21          16: In considerat~o~ the proof requ
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    Case 2:16-cv-08477-FMO-PLA Document 2 Filed 12/20/16 Page 5 of 19 Page ID #:44
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          7, def end
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        1~ Dis~l~sure Stat~nent'° whi
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        ~ 2 of Administrative k~einedy°
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                Case 2:16-cv-08477-FMO-PLA Document 2 Filed 12/20/16 Page 6 of 19 Page ID #:45
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                         ~`~' ~,._ damages mad include '~~co~rery for emotional dist~~s~ ~uc~ as emberasstnent,

                        ~~                 fear,, nau~e~ and ether symptoms arising from a de~~~dant;'s violatiar►s

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Case 2:16-cv-08477-FMO-PLA Document 2 Filed 12/20/16 Page 7 of 19 Page ID #:46
                                  ion for              ~~nxiety an~ htimzliatiol7a
     ~ Act and ~~cluded compensat
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                                           plete disregard when asked ~o ~c~mr
     Z       23. The defendant showed com
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                                           proof and evzderace of debt, a~ ~~eq
        the plainic~if 9 s request to show
                                                                     grossly neglected
                                  tion Practices Act and f~rrther it
     4. by the Fair Debt Collec
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        i~:s statutory duty w~eti it att
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     6' had no lawfully ~reriffable ~la
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                                             at~~t; headaches chest pain
     9'~ ~'severe migra~ns, pa ~fu~ tre
                                                                                         sment,
                                              k tension, eating disorder s emba~a
    l~ cor~stipat~.on, depression, pec
                                                         passibility of atta~ni2~g thousands
           ~~1ety,;inenta~ anguish? pain and the
    11
                                                                                      caily prover
                                             education whi ch has been.sta~ista
    ~2.: _ of dollars towards a higher
                                                                                      x~ecidi.~r~s►il
                                             ully reenter society and reduce
    ~,~. to be necessa~c~, `to successf
                                                                                   ilyn
                                              for the plaintiff and his #~am
    1~ and ultimately a better life
                                                            the comet grant h~~ ~ ~5(),OOO o Q0
    g~           25 ~ 'die p3~aint f f hereby seeks t~~
                                                        nd~nt tYa~r ng violated tote folloca
          `fa r actual damages suffered for d~fe
    16.
                                                                                            1~92e(2 } (A) 9
      7     sta tute s  of t~►e Fai r I?ebt ~al lecti.an Practices Act o 15 II a S,C , ~5
    ~
                                                                                                              i'
     ~$     1692e(8), and 1692e(10)e

    i9

     zo
                                                             the defendant as ~a~~c~ti~so
     21         Plaintiff demands ~udgeme~t against
                                                       ~50,G~~=OCR Logether ~~i~~ ~~i~re~td
     2~        ~a ~~.~ua~ damages in tl~e sum. of
                                                                                                     ri~~c
                                                       ink. ~e a~~a~n~ ~r $~ 9 {~Oi),OG ~r~?~ ~.a~;
     ~~ I      B ~ _~i~cl~.taa~tal s~a~~~car_y ~r~gaes
                                                                1~~~)~A;~, ~:6~~~~:~~; . ~~~~~e.{,i.t~'
     ~4            ~~~~Laiceci ~nc;tian(sj 1~ ~3~v.t~ 4~ 1~i~
                                                       ~- a~~~.ces Es~~e
     ~~            r~~ the ~~~~ debt Cc~i~4+~.~su~_. ~

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Case 2:16-cv-08477-FMO-PLA Document 2 Filed 12/20/16 Page 8 of 19 Page ID #:47
Case 2:16-cv-08477-FMO-PLA Document 2 Filed 12/20/16 Page 9 of 19 Page ID #:48


                                        NOTICE

                                                       DATE: 11-04-2015
                                                                                          ;.
          _                                            Ge~tified' Mail Number             ,:
      Yo:shi~
      .:,     _ Acosta
              I                                        ~'
       ~ onsumer     ,                                 Social `Security Number
                                                       # XX~-XX-4534
      Mark Mclean -President                            Alleged Account(-~)
      Paramount Recovery 'Systems                       +~';MACSQP,MS16271xxxxx --A
       e'-t o ecEor                                         MACSQPMS1530OxXXXX --B



    SUBJECT: Request Eor Yali.dation,.of Debt, and Notice of Reservation; of

    R ~~hts Eor intiatin           a.Counter: _Claim aR-,ainst th.e DebE Collector's

    o EEicta:l Bond..

                Con.sumer''s~Ptivate Notice of Administrative Remedy

          The private notice of administrative remedy demand ~s binding

     upon every princ~.ple agent regard nq the subject mat-ter get forth

     herein above...

           41rit-ten. commun:tcation for Validation of atleRed debts) pursuant'

     to Fair Debt Collect 'on~Practces Act, 15 U.S.C. § 1692 (a)(1)a

            It hay come to my attention after seviewtng a copy of my credit

      ceport dated       /1~,[~~15          that. your agency has communicated to
                                                            40 B)$545
      Fqui.Fax, Transunion qc Experian that I owe ($:)<A)$2

      tv your companyo Please note ttiae I consider .y,out demand for money
                                                                        a`
                                                                    my
      a written communication Erom a debt collector. I now exercise

       ris~hts pursuant to 15 li.S.~a § 1692(x)(1) and request valida~~on

       of the altered deb~e
                                                                                 as
            L nacre included ca~tl~ this- notice for p~oaF of d~'~~ ~~~~ lz~~w~t

       a~ "aDE~°F,° COLL,E~TIOrI    J~S~L~SURE STA`TEME~T'a fog t~►~ i~~~t~~~t~ purpose
                                                                                 ee
       o f ie~sueie~~ that yo~~ a~eraey ° s v~l~da~ton i~ ~n~e~~ee~ i~ ~~c~~darr

        with the laws codified in '~I'TL,E 15 U,S.Co § 1692          ~r~~ must be

        c ompleted t' er dull by your a~en~y and e~turned to m~ ~atth;.,~ thir~ty~ ;~~y~

                                                 PAGE 1 of 5
Case 2:16-cv-08477-FMO-PLA Document 2 Filed 12/20/16 Page 10 of 19 Page ID #:49


                            ipt....._. . ._
   o~ your- ageney-"s- rece                   __
                                        CAVEAT
                                         advance notice to.youragency og
   1.     I am respectfully providing
                                 TITLE 15 U.S.C. ~ 1692 for failure to
   the civil liabilities under
                                     this title [15 USCS§§ 1692 ~t seq.].
   comply with said provisions of
                                           The debt collector must cease
   2.     Upon receipt of this NOTICE,
                                arding the alleged debts) until the
   all collection activity reg
                                    requested'- verification as required by
    respondent is sent the herein
                                  CTICES `ACT:
    thE:FAIR DEBT COLLECTION PRA
                                             commis"sion, omi"ssion, and ether
    3      If debt- coY.lector, such as by

     wise:
                                                   full disclosure regarding
                  (a) Fails in giving resp'onden~t
                                                     collector's claim
                      the nature and cause of debt
                                                    referenced a13.eged debt.
                      concerning the herein above
                                                on of the charac~~~ og herein
                  (b) Makes false representati
                       above referenced' alleged debt.
                                                                    tus of the
                   (c) Makes false representation            _ ~ sta
                                                  of the legal
                                                      d debt.
                       herein above referenced allege
                                                   that cannot legally be.taker
                 (d) Makes any threat of action
                                                        law.., sucks as' the law
                      in violation of an-y appl; cabl_e
                                                     PR=ACT~IC~S ACT.         i
                      a t the FAIR D~~T COLLECTIb_N :
                                                                                  .
                                        counterclaim and claim against the.
             Respondent may ia~itiate a
                                                                              s and
                                         as bonds of any principle age~~
         debt collector's bond as well
                                                                                the -
                                         se acts and ortaissi.ons result in
         a~si~nee of debt collector who
                                           bnjurys
          r~spondent s~astainin~ ~►~y tort
                                                  given Noti.c~ ei~a~:
          tae    Debt Collector ~~ also ~erebY



                                                   PAG 1E 2 o f 5
                          t,     n
Case 2:16-cv-08477-FMO-PLA Document 2 Filed 12/20/16 Page 11 of 19 Page ID #:50



_--- D~S6~.OS~}1~F~ ~'~~4'FE~fEN'~-~4'~TA~HE~?
                                                                  t.. A
            (a) Debt Collector's unsubstantiated demand for paymen

                  a scheme to be delivered by mail: may constitute mail fraud

                  under the State and Federal Laws. (`Debt Collector may wish

                  td consult with a competent legal council before
                                                                          )
                  originating any - further communication with respondent
                                                                  the-
            (b} Debt Collector's fail-ure in providing respondent
                                                                     enced
                  requisite Verification, V'alidaEng khe above refer
                                                                 coded in the
                  alleged debt.witlin the requirements of Law as
                                                                 corresponding
                y FAIa DEBT ,COLLECT'IOIi PRACTICES ACT- and the
                                                                    tacitly-
                   laws of each state signifies tha[ debt collector

                   agr ees tlia t
                                                                    claim
       I        Debt Collector has no lawful, bona Eide, verifiable
                rega~dbn~ the above referenced alleged account.
                                                                  respondent.
       ZI       Debt Collector waives any and- all claims against
                                                                     will
        III     bebt Collector tacitly .agrees that Debt Collector
                                                                     ses
                compensate respondent for. al cost, fees., and expen
                                                                    continued
                incurred in defending against this claim and any
                                                               above referenced
                 fraudulent collection attempts regarding the
                                                                            z
                 alleged accounto
                                                            the reatvre and basis
           5,     This is also an attempt Eor determining
                                                         c~llecfio~ p acid any
           of a case or covrete~rclaim against tl~e debt
                                                             corocni~sio~, o~iss~.~r~
           information coentained within debt collectors

           end the like will b~ used for ~~aat purpose,




                                                 PAGE 3 of 5
Case 2:16-cv-08477-FMO-PLA Document 2 Filed 12/20/16 Page 12 of 19 Page ID #:51



   _ TH~S_IS__ A NOTYCE_ OF _RESERVATION OF RIGHT FOR .INITIATING A
                                  C[.AIM.AGAINST AN OFFICIAL .BOND:
     COUNTERCLAIM AND FILING r ;A
                                                        ~                          ,: ,~ .
        Mark Mclean -President
        P,aram;oun t„Recover y-System
       NAM' 0'F'COMPANY OR BOND H `DER



                               ~k~rCAVEAT***


    Z.      In the event that the debt collector does noC respond- to this
                                                              and there has
    "Notice" within -the prescribed time: limit f'or ~epon~~e

     likewise been no request Eor extension of time with goad cause shown

     therein, then the_debt collector agrees. tha~ debt collector h_as

     submitted a fraudulent claim against respondenE        and reespondent; can

     Eile a law- suit for costs, fees, and injuries incurred defending
     against this fraudulent collectioca by debt coL ector, regarding the

     a bove referenced account




                                                                             a
       Case 2:16-cv-08477-FMO-PLA Document 2 Filed 12/20/16 Page 13 of 19 Page ID #:52


                                 Y~~I~ICATION AND CERTIFICATION
                                                                        does herein
          8.      The undersigned consumer, Yoshio I Acosta
                                                  notice for validation of debt.:
           swear, declare, and "affirm tYiat this
                                                    umer can competently state the
           and reservation of rights that the cons
                                                   ents are true, correct, and
           matter set forth herein, that the cont
                                                     ation is executed this 4th,~
           complete. This verification and certific

           day of I3ovember -.2015
                                                 j'
jx;_

                  _ .~,      a ~ _. , umer;'



                                               P~t00F OF SERVICE .

                                                          r the State of
                 I declare. under penalty of perjury unde
                                                     "[iotice fog 1~alidation of
            California that I per~omalYy mailed a
                                                   Disclosure Statement" (3 Pages)`
            Debt" (S Pages) and "Debt- Collector's
             to all parties lisEed below at:

               Paramount Recovery System
               105 -Deanna Street

               Robinson, Texas 76.70.6

                                                                         this to be true,
               On this 4th              day of November 2015 , I certify

               correct, and completes
                                ~~----~
                 Case 2:16-cv-08477-FMO-PLA Document 2 Filed 12/20/16 Page 14 of 19 Page ID #:53
                                                                                  ~ Complete items 1, 2, and 3. Rlsc~ complete                             ~. ~~natur           !) ~                ~
                                                                                     item 4 if Restricted Dzhvery is desired.                                 ~'~,~ si        ~~ ~             t r'.~               ut
                                                                                                                                                                                                                    u~_
                                                                                  ~ Pant yc~~r name anc~ aodress on pt~e reverse                                 ✓tom
                                                                                                                                                                 ~ r ~-~-~` ~" ~ "'~d ~ ~"`~~ Addressee
                                                                                     so t' hat wz can tetu~ i~ the cai'dto you.                               {i~ceivtd U I~Tited N~rr~              ~ f_~`Date of Delivery
                                                                                  ~ Attach this card to the back of the mailpiece,                                     ~      a`~~      +' ~f ~           ~
                                                                                     or on the f;onf if space permits.                                      .~'~         ~ ~ ~"'G~~''?            ~      j ~`~~ ~~-~
                                                                                  —                            —                                           D. Is dWi;~ery address ~ifierer~t from ifzm 1 ? O Yes
                                                                                  1. Article Addressed to:                                                    If YES, entzr delivery ~.ddress Lei~vr,       ❑fro

                                                                                                                ,~,~{~~
                                                                                      ~'c~~~rm~~~~ ?f~~r~~~-~ ,..
                                                                                         ,~ ~            ~- ~
                                                                                       ~C~    ~~~~a~~~~ ~T ~~s~
                                                                                                                       4       `~       ~                  3. Service T P
                                                                                                                                                                 Certifiied fNailm ❑Priority Mail Express"°
                                                                                                                                                              D Registered         D Return Receipt for Merchandise
                                                                                                             '
                                                                                                             •                                                ❑Insured Mail        ❑-Collect on Delivery
                                                                                                                                                          4. Restricted Delivery% (Exfra Fee)              ❑Yes
                                                                                   z. ,4rtic~e Number
                                                                                     (Transfer from service label)                   7CI 1~39 2 t3 ~ C~ iJ[7 C7 2 45 ~ 4 ~ ~J 9
                                                                                  ?S Form ~8~ 1,July 241.3                                  E~omestic Retuni Receipt




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    i          6~J~   PEj]S f {                               ,               -               .~~~~~' ~.~~~                —    .~            ~~
Case 2:16-cv-08477-FMO-PLA Document 2 Filed 12/20/16 Page 15 of 19 Page ID #:54
FgcrFc
CREDIT FILE: October 12, 2015                                                                                                                Confirmation # 5285~03~25
                                                                                                                   Please address all future correspondence to:
Persat~af tdentlfiaetion Int~rma~f~n fth~s ~cr~on;nc+u~$ yournsrr~eraurrsnt ~ndpr~v~ou~
add~s~ses,andenyottle~"ideAtf~Jr~~frffo~nratianreporterdbyyoureretliters.)                                         ~           ~n~W~r,investigate;equifax.com
Name On File:           Yoshio I Acosta                                                                                        Equifax Information Services LLC
Social Security #       XXX-XX-4534        Age: 30                                                               (             P.O. Box 105314
                        10364 Valle fertil Dr, EI Paso, TX 79927 Reported: 10/2015                                ~r           Atlanta GA 30348
Current Address:
Previous Address(es):   9030 `Betel Dr Apt F17 , EI Paso, TX 79907 Reported: 09/2011                              ~~           (866) 238-6559
                        4649 Turf Rtl Trlr 9, EI Paso:, TX 79938 Reported: 07/2014                                ~            M - F 9:OOam to 5:OOpm in your time zone.
                        15580 Salt Bush Dr, EI Paso, TX 79938 Reported: 7 2/2013
                        15100 Gwendolyn Dr, EI Paso, TX 79938 Reported:11/2011
                        367 Escatante Dr,Socorro, TX 79927 Reported: 09/2010
                        1 2878 Reid Rd, EI Paso, TX 29927 Reported: 05/2015
                        10308 Reid Rd, Ei Paso, TX 79927 (915) 8~8-8769 Reported 11 /2011
                                                                                                                            s,~
 Pub11C ReGol'd /11fo1'm8tipfl (714is section includes p~rbticreco~d ftems obtained ~~om local, state Qnd lerlerarcputt
                                                                                                                  Filer - Individual; Current Disposition -Dismissed/Closed CH-13; Current
Wage Earner Plan Filed 12/2007; US Bankruptcy Court-EL Paso; Case or ID # - 0731633; Type -Personal;
                                                                                 -13  Filed;Addre   ss: 8515   LOCKHEED        DR EL PASO, TX 79925-1218:(915) 779-7362
Disposition Date 03/05/2009; Date Reported 03/1 1/200'9; Prior'Disposition - CH
                                                                                                - $4,543 ;Class    -Federal;    Address:500 E SAN ANTONIO AVE RM 105 EL PASO,TX
Lien Filed 01/2008; EL Paso County Clerk - EL Paso; Case or fD # - 20080007741; Amount
79907-2420:(915) 546-2071
                                                                                                          for boller~ion with a collection agd~qc
  Ga~t8Ctlan A 8nC ~F1f0~'t~T8~ID/1 (7his section incl~les:eacpuntsthat credit grantors have, 1s~ed
                                                                                                 - Medical/Health Care; Client -SIERRA Providence East Medical; Amount - $S'87 ; Status as
Syndicated Office Systems; Collection Reported 03/2071; Assigned 05/2010; Creditor Class
of 03!2011 -Unpaid; Date of 1st Delinquency 02/2010; Balance as of'03    /207 7 -.$867  ; Jndividuai Account; Account# - 1026281781 ;Address.770 The Cit~Dr S South 6000-27 Orange
CA 92868-4900:(800) 300-7192
                                                                                                                lth Care;:Client -SIERRA Providence East Medical:; Amount - $1,255 ;Status
Syndicated Office Systems; Collection Reported 03/2071; Assigned 1 2/2009; Creditor Class - Medical/Hea
                                                          Balance  as  of 03/2011  - $1 ,255  ;Individual  Account;   Account # - 975046740; Address:770 The City Dr S South 6000-27
as of 03/2011 -Unpaid; Date of 7 st Delinquency 0912009;
Orange CA 92868-4900:(800) 300-7?92
                                                                                                                Ith C:~re; Client -SIERRA Providence East Metlicat; Amount - $695 ; Status as
Syndicated Office Systems; Collection Reported 03/2011; Assigned 09/2009; Creditor Class - Medical/He~
                                                                                                                 Account # - 941800677; Address:770 The City Dr S South 6000-27 Drange
of 03/2011 -Unpaid; Date of 1st Dekinquency 05/2009; Balance as of 03/2071 - $695 ; Individual Account;
CA 92868-4900:(800) 300-7192
                                                                                                                  th Care; Client -SIERRA Providehce East Medical; Amount.-'$449 ; Status as
Syndicated Office Systems; Collection Reported 03/2011; Assigned 07/2010; Creditor Class - MedicalMeal
                                                                                                                 Account   # - 1042559015;' Address: 770'The City Dr S South 6000-27 Orange
of 03/2011 -Unpaid; Date of 1st Delinquency 04/207 0; Balance as of 03/2011 - $449 ; Individual Account;
CA 92868-4900:(800) 300-7192
                                                                                                              Emergency Physicians; Amount- $506 ; Status as of 05/2015 -Unpaid; Date of
 Commonwealth Financial Systems; Collection Reported 05/2015; Assigned 04/2015; Client - Chamizal
                                                                                                            7 ; Address: 245 Main St Dickson City PA 18519-1641
 7 st Delinquency 02/2010; Balance as of 05/2015 - $506 ; Individual Account; Account # - D65326138N
                                                                                                     -               lth Care; Client - Questcare ER Del SOL Medical; Amount - $545 ;Status
 P ramaunt Recovery Systems; Collection Reported 09/2015; Assigned 08/2010; Creditor Class MedicalMea
                                                                                                         Account; Account# - MACS'QPMS163000653; Address: 111 E Center St Lorena TX
 as of 09/2015- Unpaid; Date of 1st Delinquency 06/2010; Balance as of 09/2015 - $545 ; Individual
76655-9651 :(254) 857-7007
                                                                                               Class - Medical/Health Care; Client - Questcare ER Del SOL Medical; Amount - $240 ;Status
 P amount Recovery Systems; Collection Reported 09/2015; Assigned 12/2009; Creditor
                                                                                                                     Account # - MACSG~PMS162712780; Atldres's: 111 E Center St Lorena TX
~    of 09/2015 -Unpaid; Date of 1st Delinquency 09/2009; Balance as of 09/2015 - $240 ; Individual.Accaunt;
 76655-9651 :(254) 857-7007
                                                                                                                                                                                           Case 2:16-cv-08477-FMO-PLA Document 2 Filed 12/20/16 Page 16 of 19 Page ID #:55




                                                                                          Page ~ of 12                                       5285003525GER-002057 448- 774 -.871 - ASD
( Continued On Next Page)
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                                       CERTIFTE~TE OF SERY~CE

        i             I Certi fy that a true aril correct copy. of the attached

             together with all attachments, exhibits, and~suppa~tng~papers, were        ..
        ~i   served by sent properly~addressed~envelope with ~irs~ class postage duly

             paid, and hand delivered to the proper pr sign mail personnel, in accordance

        E    with Houston v. Lack, 487 U.S. 266, 270 (1988),. to:

        i    the Clerk of the Court
             for the U.S. District Court
        f    Central nistri-pct of Cali€ornia
             312 N. Spring Street
             Los Angeles, CA 90012                                    -

      1t

      1]

      1.     Dated acid Executed this 30        ~y of September     , 201 6

      1:

       1~           I declare under the penalty of perjury tha~.the foregoing

       1' f is.~rue and correct to the best of my lmowledge. Executed at Adelanto,
          i
       li   California.

       1'

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Case 2:16-cv-08477-FMO-PLA Document 2 Filed 12/20/16 Page 19 of 19 Page ID #:58
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